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  DISTRICT COURT, BOULDER COUNTY,FILING ID: C93678751E88E
  COLORADO                        CASE NUMBER: 2021CV30726
  1777 6th St., Boulder, CO 80302
  303-441-3750

  Plaintiffs: JOHN DOE, an individual, JANE
  DOE, an individual, and MARY DOE, an
  individual

  v.

  Defendants: DA’JON TYRIK JAMES, an
  individual, and THE ALEXANDER DAWSON
  SCHOOL, LLC, a Nevada Limited Liability
  Company                                               ∆ COURT USE ONLY ∆

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                      COMPLAINT AND JURY DEMAND

      COME NOW, John Doe, Jane Doe, and Mary Doe, by and through their
undersigned counsel at Burnham Law, and submit their Complaint and Jury
Demand, and state as follows:

                             NATURE OF THE CASE

      Defendants—an elite private school and a teacher employed by that school—
are entrusted with the care, education, and safety of hundreds of minor students
from kindergarteners to high schoolers.




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       Plaintiffs John and Mary Doe—along with other parents throughout the
community—rely on Defendants to not only educate their children but also to keep
them safe and healthy in the course of that education. Likewise, students rely on
Defendants to educate them and to keep them safe and healthy at school.
Defendants are paid a premium, in the form of annual tuitions, for doing so. In fact,
each student’s family paid between $24,000 and almost $30,0001 per year for the
privilege of attending that ostensibly safe and healthy learning environment.

      Here, however, the school failed to conduct due diligence in hiring its staff
and instead hired a sexual predator who had just been accused of sexual misconduct
at another elite private school. What is more, the school failed to heed the concerns
voiced by its own staff related to the teacher’s clear grooming2 behavior—concerns
that were raised at the very beginning of the school year.

       That teacher, Da’Jon Tyrik James, went on to sexually assault at least four of
the school’s students, including Mary Doe, who was a minor at the time.

       In addition to the teacher’s sexual assaults, the school’s callous disregard for
the safety and well-being of its students—which appears to fit a long-standing
pattern of covering up and minimizing sexual assault on its campus and
marginalizing the victims of those assaults—gives rise to the claims herein.

                                       PARTIES

1.    Plaintiff Mary Doe,3 at all times relevant to this Complaint, was a resident
      and citizen of the State of Colorado, City of Boulder, County of Boulder.

1Tuition, Costs, Tuition Assistance, available at:
https://www.dawsonschool.org/admission/tuition-costs-tuition-assistance

2“Grooming is a term used by a wide range of professionals working with sex
offenders” and has been defined as “patterned behavior designed to increase
opportunities for sexual assault, minimize victim resistance or withdrawal, and
reduce disclosure or belief.” Jim Tanner & Stephen Brake, Exploring Sex Offender
Grooming, available at
http://www.stephenbrakeassociates.com/Exploring%20Sex%20Offender%20Groomin
g.pdf

3Because Mary Doe was a victim of sexual assault and was a minor at the time that
she was assaulted, this Complaint uses aliases for the Plaintiffs. A motion
requesting permission to use these aliases is filed contemporaneously with this
Complaint.


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        Mary Doe (“Mary”) was a minor and a student at The Alexander Dawson
        School when she was assaulted.

2.      Plaintiffs John Doe and Jane Doe, at all times relevant to this Complaint,
        were residents and citizens of the State of Colorado, City of Boulder, County
        of Boulder. John Doe and Jane Doe are Mary Doe’s parents.

3.      Defendant Da’Jon Tyrik James, at all times relevant to this Complaint, was a
        resident and citizen of the State of Colorado. James resided in Boulder
        County, Colorado at the times of the assaults. Upon information and belief,
        James currently is a resident of Denver County.

4.      Defendant The Alexander Dawson School, LLC, at all times relevant to this
        Complaint, was a Nevada Limited Liability Company, with its primary place
        of business located in the County of Boulder, in the State of Colorado.

                              JURISDICTION AND VENUE

5.      This Court is vested with jurisdiction over the Defendants because the
        Defendants committed the tortious acts within the State of Colorado. See
        § 13-1-124(1)(b), C.R.S.

6.      Venue is proper in Boulder County pursuant to C.R.C.P. 98(c)(1) because the
        Plaintiffs reside in the County of Boulder, State of Colorado, the assaults
        occurred in Boulder County, and because Defendant The Alexander Dawson
        School is physically located, and “may be found” in the County of Boulder,
        State of Colorado.

                                FACTUAL ALLEGATIONS

7.      The Alexander Dawson School (“Dawson”) is an elite private school that
        advertises itself as “Boulder County region’s leading independent, college-
        preparatory school for students in grades K-12[.]”4

8.      Dawson espouses certain community commitments, stating that “[b]y
        embracing Dawson’s community commitments, we will successfully cultivate




4   Dawson School, available at: https://www.dawsonschool.org/



                                           3
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      a school culture most conducive to healthy student growth and
      development.”5

9.    Those community commitments include, among other things, a commitment
      that Dawson staff will:

         •   Pursue excellence in our areas of responsibility.
         •   Seek to understand and meet the unique needs of every child entrusted
             to our care.
         •   Steward a physi[c]ally and emotionally safe environment conducive to
             student growth.
         •   Communicate proactively with families regarding student progress.
         •   Make decisions with students’ best interests in mind.6

10.   For grades six through twelve, Dawson’s 2020-21 tuition rates were $28,560,
      exclusive of the costs of books, transportation, and other experiential
      expenses.7

11.   Dawson is a member of the National Association of Independent Schools
      (“NAIS”).

12.   NAIS has published recommendations related to educator sexual misconduct.

Dawson Hires Accused Perpetrator of Sexual Misconduct, Da’Jon James, as
                         Vocal Music Teacher

13.   In mid-2020, Da’Jon Tyrik James (“James”) applied for a position at Dawson
      as its Vocal Music Teacher.

14.   Previously, in 2019 and 2020, James had been employed at the Cate School
      (“Cate”) in Carpinteria, California.



5Dawson School Community Commitments, available at:
www.dawsonschool.org/dawson-school-community-commitments

6Dawson School Community Commitments, available at:
www.dawsonschool.org/dawson-school-community-commitments

7At A Glance 2020-21 Tuition, available at: https://www.dawsonschool.org/about-
us/at-a-glance


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15.   However, in March of 2020—in the middle of the school year—James left
      Cate after working there for only approximately nine months.

16.   Upon information and belief, James left Cate because he had been accused of
      sexual misconduct.

17.   Thereafter, Cate informed any of James’s inquiring prospective employers of
      James’s departure and the reason for it.8

18.   As applicable here, a number of other candidates also applied to Dawson for
      the Vocal Music Teacher position and were presented to the hiring
      committee.

19.   Indeed, the committee selected certain candidates, in addition to James, to be
      interviewed.

20.   However, Ann Carson (Dawson’s Upper School Director at the time) hired
      James after interviewing him.

21.   James was the first and only candidate interviewed for the Vocal Music
      Teacher position.

22.   Dawson did not investigate why James abruptly left (or was terminated from)
      Cate after such a short stint of employment there.

23.   Upon information and belief, Dawson did not contact administration or
      human resources at Cate regarding James before hiring him.

24.   Alternatively, Dawson did contact Cate and learned of James’s departure and
      the reasons for it but decided to hire James anyway.

25.   By August of 2020, James was employed by Dawson and working in the
      position of Vocal Music Teacher.


8 See, e.g., Nick Masuda, Former Cate School Teacher, Under Investigation for
Sexual Misconduct Here, is Arrested in Colorado for Alleged Sexual Assault, THE
MONTECITO JOURNAL (Aug. 5, 2021),
https://www.montecitojournal.net/2021/08/05/former-cate-school-teacher-under-
investigation-for-sexual-misconduct-here-is-arrested-in-colorado-for-sexual-assault/




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       Dawson is Made Aware of Significant Concerns Regarding James’s
      Grooming Behavior and His Alarming Admissions of Being Accused of
                      Sexual Misconduct While at Cate

26.     As part of his employment with Dawson, James was provided on-campus
        housing.

27.     In his position as Vocal Music Teacher, James was routinely required to be in
        the company of minor students with no other faculty or adults present.

28.     At all times relevant to the claims made herein, James was acting in the
        course and scope of his employment as the Vocal Music Teacher of Dawson.

29.     At a gathering of faculty and staff on Dawson’s campus in August 2020,
        James asked other Dawson faculty members about the culture of sexual
        assault at Dawson and asked how Dawson handled sexual misconduct
        allegations.

30.     Moreover, James told the gathered Dawson employees that he had been
        accused of sexual misconduct with students while working at Cate.

31.     While making this admission, James laughed and joked about the issue.

32.     These statements, and James’s flippant attitude towards serious allegations
        of sexual misconduct, were relayed to Ann Carson shortly after that
        gathering.

33.     Thus, in August of 2020, Dawson (through Ann Carson) was made aware that
        James had been accused of sexual misconduct while at Cate.

34.     At the same time, Ann Carson was also informed that James’s conduct in
        making these statements was a typical way for a sexual predator to test his
        peers’ reaction.

35.     Upon information and belief, Dawson took no action to investigate James’s
        admissions at this time.

36.     Alternatively, Dawson investigated James’s admissions and nevertheless
        proceeded to allow him to teach Dawson students.

37.     Nor did Dawson take any action to determine whether—in light of James’s
        explicit admission that he had been accused of sexual misconduct—James


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      had been terminated from his previous employment due to allegations of
      sexual misconduct.

38.   Later that month, another Dawson employee reported to Ann Carson that
      James had held a gathering at his on-campus home with students.

39.   This employee expressed concern about James’s behavior and credibly opined
      that it was obvious “grooming” behavior.

40.   Despite these reports, and the express concern of staff members, Dawson took
      no action to investigate James’s history in general nor his termination from
      Cate specifically.

41.   Alternatively, Dawson investigated these concerns but nevertheless
      proceeded to allow him to teach Dawson students.

42.   Despite James’s admissions, and the express concern of staff members,
      Dawson took no action to limit James’s contact with its minor students or
      otherwise protect its students from James.

                 James Sexually Assaults Dawson’s Students

43.   From August 2020 through May 2021, Mary Doe was enrolled at Dawson.

44.   During the 2020-2021 school year, as well as for the previous year, Mary had
      been enrolled at Dawson.

45.   Mary’s family paid tuition for Mary to attend Dawson.

46.   John and Jane Doe chose to send Mary to Dawson based on its educational
      curriculum and assurances that it would steward a physically and
      emotionally safe environment for Mary—as Dawson had represented it
      would.

47.   For the 2020-2021 school year, Dawson required payment of its annual
      tuition for Mary to attend Dawson.

48.   The Doe family paid this amount pursuant to the Enrollment Contract that
      John and Jane Doe entered into with Dawson, along with other attendant
      expenses for Mary to attend Dawson.




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49.   In total, the family paid two years of tuition for Mary to attend Dawson, in
      addition to the other necessary expenses incurred for Mary to attend Dawson.

50.   As Dawson’s Vocal Music Teacher, James was Mary’s teacher and vocal coach
      and worked closely with her, giving her individual vocal lessons and specific
      coaching.

51.   James, as Dawson’s Vocal Music Teacher, had been working for months to
      prepare Mary for her role in a Dawson school performance.

52.   James’s instruction with Mary often took the form of individual coaching
      sessions with no other students or staff around.

53.   Indeed, at times, James would ask other students to leave the room so that
      he could work “one-on-one” with Mary.

54.   James also suggested Mary take private lessons with him, mostly outside of
      school hours. James told Mary she was one of the best singers he had ever
      heard and that he would “make her a star.”

55.   In late January 2021, Mary disclosed to her parents that for the previous
      several months, James had engaged in sexually inappropriate and aggressive
      behavior towards her and several other students.

56.   James abused his position of trust as a teacher, engaged in classic “grooming”
      behaviors with Mary and several other students, and sexually harassed and
      sexually assaulted Mary and several other students.

57.   For example, while employed as a teacher and in the course of the
      performance of his duties as Dawson’s Vocal Music Teacher, James engaged
      in at least the following acts:

                         a. James showed Mary images of women in thongs,
                            bikinis, and lingerie and asked her, “Do you think
                            she’s hot?” James told Mary, “you wished you looked
                            like them.” A friend of Mary’s walked in while this
                            happened and saw the images on James’s phone.

                         b. James repeatedly told Mary she needed to “seduce the
                            audience” and “have sex with the audience” and that
                            she needed to convince him (meaning James) she was
                            capable of that.


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c. James slapped Mary in the face repeatedly when she
   did not perform a song or monologue to his
   satisfaction. This began as “playful” roughhousing but
   got more aggressive with time, escalating to obvious
   abuse.

d. James placed his hand in between Mary’s breasts,
   ostensibly “to assess her breathing.” Mary has been in
   vocal lessons since a young age and touching in this
   inappropriate way has never happened with any other
   instructor.

e. James repeatedly hugged Mary closely, pushing his
   chest to hers and his penis against her. Mary sensed
   that James’s penis was erect on at least one occasion
   during this inappropriate contact.

f. James repeatedly kissed Mary on the forehead and
   reassured her that kissing is okay with people you care
   for.

g. James “roughhoused” with Mary by picking her up and
   swinging her around his body while touching her
   buttocks, legs, and thighs.

h. James would comment to Mary about other Dawson
   students he thought were “hot,” or “dressed like a
   slut,” and he would rate female students’ bodies,
   stating one of Mary’s friends was an “11 out of 10.”
   Upon information and belief, the student James
   claimed “dressed like a slut” was fourteen or fifteen
   years old at the time he made the comment.

i. James would be very aggressive with direction during
   rehearsal, saying, “I’m going to give you a reason to
   cry.” This was done while other students were
   present.

j. James would barter with Mary, giving private vocal
   lessons in exchange for her watching his dog at his
   home, sometimes outside of school hours and often


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                            during the evenings and weekends. James told Mary
                            that the Academic Dean’s daughter walked his dog as
                            well and told Jane Doe that he had permission from
                            his Dawson supervisor to “barter” for the dog sitting
                            and dog walking.

                         k. At one point, James told Mary, “I can’t find my phone,
                            can I call it from yours?” At this time, having furtively
                            obtained Mary’s cell phone number, James began
                            texting Mary.

58.   James expressed he was “in love” with a friend of Mary’s and said he wanted
      to ask her out but was waiting for the right time. He asked Mary’s friend to
      meet him at his house at night on Wednesday, February 3, 2021—a day that
      faculty had off.

59.   Because Mary had grown increasingly uncomfortable with James’s behaviors
      and felt responsible to stop her friend from meeting with James at his house
      at night, she reported some of James’s behavior to her parents in late
      January 2021.

60.   Subsequently, Jane Doe sent an email to James stating that Mary would no
      longer be watching his dog or having private lessons with him.

61.   After receiving the email, James became unhinged and started speaking
      about Jane Doe around Dawson to students and others, including:

                         a. Stating to Mary, “Do you know about the email your
                            mom sent me? She doesn’t want me to fuck you.”

                         b. Approaching a group of Mary’s friends in the cafeteria
                            saying, “Mary’s mom thinks I want to fuck her.”

                         c. Approaching other students who had a pre-existing
                            relationship with Jane Doe, starting a conversation by
                            asking, “What do you think of Mary’s mom?”

                         d. James told Mary he was “terrified” of her mom.

62.   Shortly thereafter, John and Jane Doe brought these issues to Dawson’s
      attention.




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63.   On February 4, 2021, John and Jane Doe met with Dawson administrators
      Ann Carson, George Moore, and Christine Lipson to discuss the assaults
      suffered by Mary over the past several months at the hands of James.

64.   Dawson’s administration indicated to the Does that they were shocked and
      considered it a very serious matter but nevertheless encouraged them to not
      discuss the incidents.

65.   The matter was allegedly addressed by Dawson in a conversation between
      James and George Moore, the Head of Dawson, after which James was
      permitted to resign.

66.   Dawson’s administrators expressly promised that James would never again
      set foot on campus or have contact with the students.

67.   Rather than immediately reporting what was clearly a crime committed by a
      teacher against a student, Dawson’s administration minimized James’s
      egregious behavior and failed to protect Mary.

68.   As an example, on February 4th—after James had resigned—a member of
      Dawson’s administration told one of the other victims (in front of Mary and
      other victims) that “[James] really cared about you, he just cared too much.”

69.   On February 5th, the Does again spoke with George Moore in a follow-up
      phone call. They asked if the assaults had been reported to the appropriate
      authorities.

70.   Mr. Moore, shockingly, and in violation of Dawson’s own policies, declared
      that the behavior—indisputably sexual assault, sexual harassment, assault,
      and battery—was in a “grey area” regarding mandatory reporting, and he
      could not confirm if he or anyone at the school had reported the behavior.

71.   When questioned about this by the Does, Mr. Moore replied that he would
      need to speak to his attorney about what he could disclose, but that “[the
      Does] can always report it” themselves.

72.   Notwithstanding Mr. Moore’s characterization of James’s assault as being in
      a “grey area,” Dawson’s 2020-21 Upper School Handbook lists examples of
      sexual assault as including (but not being limited to) the “[u]nwanted
      kissing” and “[f]ondling or unwanted sexual touching of genitals, buttocks or
      breasts, under or over clothing.”




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73.   What is more, Dawson’s 2020-21 Upper School Handbook also provides
      guidelines for appropriate adult-student relationships, including a list of
      actions adults should “never” engage in.

74.   James engaged in several of these actions, including but not limited to,
      making risqué jokes and sexually provocative or degrading comments;
      making inappropriate comments about students’ appearances; touching
      students in inappropriate ways; using physical discipline; texting students;
      and flirting with students.

75.   Even so, Mr. Moore told the Does that there was nothing more he could do,
      things were out of his hands, and Dawson would not be pursuing the matter
      further because James had resigned and would not ever be returning to
      campus.

76.   John Doe, concerned about his family’s safety, asked where James was
      currently residing (because he had formerly been living on campus).

77.   Mr. Moore replied simply that James was off campus, that Dawson had done
      its part, and further concerns were not Dawson’s problem.

78.   On that same day, Mr. Moore sent what would be the Dawson
      administration’s only communication to the Dawson community regarding
      the incident and surrounding circumstances. The message simply stated that
      James had resigned and “with respect to privacy we won’t have additional
      details.”

79.   Because of Dawson’s failure to appropriately address the issue, Dawson
      faculty and staff continued to minimize James’s sexual assault and
      marginalize James’s victims, resulting in further trauma.

80.   For example, on February 6, 2021, Jay Parker, the head of Dawson’s Middle
      School, sent an email to parents, students, and faculty expressing his sorrow
      over James’s departure and offering to deliver letters of thanks from any
      students to James and encouraging students to have continuing contact with
      James.

81.   That same day a member of Dawson’s administration sent an email to the
      school’s acapella group’s parents and inexplicably carbon copied Jane Doe,
      saying: “[a]s you know by now, music teacher Da’Jon James resigned this
      week. On behalf of Dawson, I apologize for the impact this has had on the
      Lost Keys. I also acknowledge that students may be experiencing a wide


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      range of emotions after hearing this news and want to let you know that, as
      always, upper school counselor Holly Smith is available to speak with
      students who need support.”

82.   At no point was Mary specifically offered any support by Dawson for the
      trauma she endured at James’s hands.

83.   Over the next weeks, Dawson continued to ignore the trauma inflicted by
      James.

84.   Rather than offer support to Mary and the other victims, Dawson continued
      to downplay or simply ignore the reasons for James’s departure.

85.   For example, on February 15, 2021, Ann Carson—who had previously
      ignored explicit concerns that staff had expressed about James—sent another
      email to the acapella group (including one of the Does) apologizing for “the
      disruption that James (sic) recent departure has caused.”

86.   Although Dawson continued to apologize for James’s departure, at no point
      did Dawson acknowledge the pain and trauma that James inflicted on Mary
      and other students.

87.   Nor did Dawson take any steps to identify any additional victims or prevent
      future victimization of them or other students.

88.   To be sure, Dawson’s handling of James’s departure led many students and
      members of the Dawson community to believe James had left Dawson
      because of something that had happened to him.

89.   As a result of Dawson misleading the community, students spoke of how they
      had “lost their favorite teacher,” and Mary was forced to endure these claims.
      Without having to out herself as the victim of sexual assault, she could not
      challenge these assertions.

90.   What is more, because Dawson failed to give any information about James,
      members of the Dawson community continued to allow James to be in contact
      with their children.

91.   On April 13, 2021, despite Dawson’s earlier promise and the fact that James
      had sexually assaulted numerous students, Dawson invited James back on to
      campus during school hours.




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92.    Students saw James arrive at campus and urgently contacted one of James’s
       other victims, who in turn—and out of concern for Mary’s safety—contacted
       Mary to warn her.

93.    Mary and other victims gathered in the school theater, fearing for their
       safety.

94.    That fear was reasonable and justified given that her reporting of James led
       to him losing his job, his income, and his place to live.

95.    Indeed, Mary—knowing how aggressive James was and terrified of his
       retaliation—believed she was going to be killed.

96.    She was reasonably concerned that James might seek revenge. For the next
       thirty minutes, Mary frantically texted with her mother and father.

97.    Jane Doe called the school immediately upon learning of James’s presence on
       campus, but no one to whom she spoke could explain why James was back on
       campus.

98.    Mary and the other students also called school security for help.

99.    The Dawson security guard callously told the students (who had been
       victimized by James) that he “didn’t see what the big deal” was.

100.   James is now facing felony charges due to his actions in assaulting students
       while employed by Dawson.

101.   Furthermore, upon information and belief, James is also the subject of an
       investigation by the Santa Barbara County Sheriff’s Office related to the
       allegations of sexual misconduct against him during his employment at Cate.

102.   On April 14th—more than two months after Dawson was made aware of
       James’s sexual assaults on its students and after allowing James to terrify
       and re-victimize his victims by coming back on campus—Dawson, for the first
       and only time, reached out to Jane Doe to inquire about Mary’s welfare.

103.   Perhaps coincidentally, that same day, Mary and other victims had gone to
       speak with Mr. Moore to express their concerns about James being on
       campus and the trauma that it had caused.




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104.   Mary’s impression was that Mr. Moore was wholly unreceptive and that
       speaking with Mr. Moore was “like talking to a wall.”

105.   The next day the Does had a Zoom call with Mr. Moore and another
       administrator, Ann Hecox (the current Director of Dawson’s Upper School), to
       address the fact that Dawson had permitted James to return to campus.

106.   Mr. Moore told the Does, incorrectly, that Mary had not been part of the
       group that came to speak with him on April 14th.

107.   The Does were stunned and hurt, particularly because Mary had spoken a
       great deal and relayed her personal trauma directly to Mr. Moore during that
       meeting.

108.   Mr. Moore’s statement exemplified the utter disregard that Dawson had for
       the victims of James’s sexual assault.

109.   Mary was deeply impacted, further traumatized, and demoralized by the
       meeting with Mr. Moore.

110.   When Jane Doe responded that Mary had been part of the group to speak
       with Mr. Moore, Mr. Moore’s response was that Mary might have been part of
       the group, but he did not recognize her—despite her sharing her personal
       details of being victimized.

111.   On April 30th, another Dawson parent sent a letter to the Dawson
       community after learning of the sexual assault and the reasons for James’s
       resignation.

112.   This letter indicated that the parent had requested the Dawson
       administration share more information with the community to keep children
       safe given that James was still offering private voice lessons to children.

113.   However, the letter further indicated that the Dawson administration had
       declined to take even this minimal step to ensure the safety and well-being of
       its students.

114.   At no point did Dawson inform the community, or even the majority of its
       faculty, of the reason for James’s departure.




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115.   Instead, despite James’s ongoing interactions with children in the Dawson
       community, Dawson repeatedly told faculty that the Dawson administration
       could not discuss the circumstances surrounding James’s resignation.

116.   Furthermore, faculty were instructed by Dawson not to talk to anyone about
       what had occurred regarding James’s departure. This led to James staying
       with a faculty member who was unaware of James’s behavior and who had
       small children in the house.

117.   After suffering both from James’s sexual assault and Dawson’s callous
       disregard for her trauma, Mary’s academic performance suffered.

118.   Mary experienced distractibility and attention issues following the assaults,
       and she became unable to focus and study for important exams.

119.   Mary also had days where she dreaded going to school because of the trauma
       she endured, and her grades began to suffer.

120.   Mary became paranoid while walking around the school, especially after
       James had been allowed back on campus despite Dawson’s earlier promise
       that he would never be back on campus.

121.   Indeed, Mary suffers the trauma and guilt often association with
       victimization, including but not limited to feeling ashamed, emotionally
       distraught, and easily triggered into states of extreme fear for her safety.

122.   Mary’s depression and anxiety were exacerbated and have affected her daily
       life.

123.   For example, Mary has experienced episodes of panic while driving because of
       overwhelming anxiety that she feels upon seeing cars nearby that look like
       James’s car.

124.   Likewise, Mary feels unsafe while walking around school.

125.   Moreover, the Doe family has avoided certain public places that were once a
       part of their regular lives out of fear that they would encounter James and
       thereby trigger Mary further, resulting in additional episodes of panic and
       depression.

126.   Mary endured fits of crying, anxiety, nightmares, insomnia, and explicit
       memories, accompanied by phantom sensations of James’s sexual assaults.


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127.   Dawson’s action in allowing James to return to campus after his resignation
       only exacerbated Mary’s trauma, and she has since experienced symptoms of
       post-traumatic stress disorder and feelings of being followed by him.

128.   At time, Mary cries hysterically and is inconsolable.

129.   Mary has sought therapy to address her trauma.

130.   The other Doe family members have similarly suffered emotional distress,
       fear, and anxiety over these matters.

131.   In fact, John and Jane Doe purchased surveillance cameras for their
       residence and personal alarms for both of their children.

132.   Dawson’s handling of this matter comports with its history of minimizing
       allegations of sexual misconduct on its campus.

133.   Indeed, Dawson has a pattern and practice of covering up allegations of
       sexual misconduct by faculty and students.

134.   Sexual misconduct is routinely not reported, and faculty members are often
       discouraged from reporting sexual misconduct despite their positions as
       mandatory reporters under Colorado law.

135.   In fact, Dawson has disciplined faculty in the past for reporting sexual
       misconduct at Dawson.

136.   Dawson has historically minimized and hidden allegations of sexual
       misconduct, allowing faculty to resign, or even finish out the year despite
       being accused of sexual misconduct.

137.   Moreover, Dawson has a history of allowing students against whom
       allegations of assault have been made to remain at Dawson without being
       disciplined.

138.   Indeed, upon information and belief and as further evidence of its pattern of
       minimizing sexual misconduct and marginalizing victims of sexual assault,
       Dawson maintains a “list” of students whom Dawson faculty are discouraged
       from reporting for sexual misconduct.




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139.   Just as it did with Mary, Dawson has historically prioritized protecting its
       reputation over the safety of its faculty and students.

140.   Dawson repeated that historical practice in 2021 when it hired James despite
       him leaving Cate because of accusations of sexual misconduct, ignored
       repeated concerns about James’s statements and behaviors reported by other
       faculty, minimized the assaults that Mary and the other victims
       subsequently suffered at James’s hands, permitted James to resign rather
       than terminate him, allowed James back on campus after his resignation,
       and failed to appropriately address the trauma that James—and Dawson
       itself—had caused in this matter.

                          FIRST CLAIM FOR RELIEF
                                  Assault
              Against James and Dawson (Respondeat Superior)

141.   The Does incorporate all of the above allegations as though set forth herein in
       their entirety.

142.   James was employed by Dawson.

143.   James’s duties specifically included teaching and coaching Dawson’s
       students.

144.   James’s actions, described above, were only made possible because he was
       acting as a teacher and vocal coach to Mary.

145.   James’s actions were taken during the performance of his duties as an
       employee of Dawson and his actions were taken within the scope of those
       duties.

146.   James intended to cause offensive physical contact with Mary when he—
       among other things—slapped her face, kissed her, pushed his erect penis
       against her body, and touched her breast area, buttocks, and thighs.

147.   His actions placed Mary in apprehension of immediate physical contact, and
       indeed, his continued actions created a constant apprehension that he would
       touch her.

148.   James’s unwanted touching of Mary, sexual and otherwise, was extremely
       uncomfortable and offensive to her.




                                          18
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149.   As a direct and proximate cause of James’s assault, the Does have suffered
       past and future non-economic damages including, but not limited to, physical
       and mental pain and suffering, inconvenience, emotional stress, fear, anxiety,
       embarrassment, humiliation, and impairment in the quality of life.

150.   As a direct and proximate cause of James’s assault, the Does have suffered
       past and future economic losses including, but not limited to, therapy costs,
       security costs, loss of income, loss of ability to earn income in the future, and
       medical expenses.

                         SECOND CLAIM FOR RELIEF
                                 Battery
              Against James and Dawson (Respondeat Superior)

151.   The Does incorporate all of the above allegations as though set forth herein in
       their entirety.

152.   James was employed by Dawson as a teacher and his duties specifically
       included teaching and coaching Dawson’s students.

153.   James’s actions were only made possible because he was acting as a teacher
       and vocal coach to Mary.

154.   James’s actions were taken during the performance of his duties as an
       employee of Dawson, and within the scope of performing those duties.

155.   James caused offensive physical contact with Mary when he, among other
       things, slapped her face, kissed her, touched her breast area, buttocks, and
       thighs, and pushed his penis against her body.

156.   James intended to make this contact, as he acted with the specific purpose of
       causing contact with Mary’s body.

157.   The unwanted sexual touching of Mary was offensive to her.

158.   As a direct and proximate cause of James’s battery of Mary, the Does have
       suffered past and future non-economic damages including, but not limited to,
       physical and mental pain and suffering, inconvenience, emotional stress, fear,
       anxiety, embarrassment, humiliation, and impairment in the quality of life.

159.   As a direct and proximate cause of James’s battery of Mary, the Does have
       suffered past and future economic losses including, but not limited to,



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       therapy costs, security costs, loss of income, loss of ability to earn income in
       the future, and medical expenses.

                           THIRD CLAIM FOR RELIEF
                       Invasion of Privacy by Intrusion
              Against James and Dawson (Respondeat Superior)

160.   The Does incorporate all of the above allegations as though set forth herein in
       their entirety.

161.   James was employed by Dawson as a teacher and his duties specifically
       included teaching and coaching Dawson’s students.

162.   James’s actions were only made possible because he was acting as a teacher
       and vocal coach to Mary.

163.   James’s actions were taken during the performance of his duties as an
       employee of Dawson, and within the scope of performing those duties.

164.   James intentionally invaded Mary’s privacy when he, among other things,
       slapped her face, kissed her, touched her breast area, buttocks, and thighs,
       and pushed his penis against her body.

165.   Such an invasion of Mary’s privacy would be very offensive to a reasonable
       person.

166.   As a direct and proximate cause of James’s invasion of Mary’s privacy, the
       Does have suffered past and future non-economic damages including, but not
       limited to, physical and mental pain and suffering, inconvenience, emotional
       stress, fear, anxiety, embarrassment, humiliation, and impairment in the
       quality of life.

167.   As a direct and proximate cause of James’s invasion of Mary’s privacy, the
       Does have suffered past and future economic losses including, but not limited
       to, therapy costs, security costs, loss of income, loss of ability to earn income
       in the future, and medical expenses.




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                      FOURTH CLAIM FOR RELIEF
                  Extreme and Outrageous Conduct
 Against James and Dawson (Respondeat Superior) and Dawson Directly

168.   The Does incorporate all of the above allegations as though set forth herein in
       their entirety.

169.   Defendant James was Mary’s teacher and vocal coach. As such he occupied a
       special position in relation to Mary and stood in loco parentis to Mary.

170.   James was employed by Dawson as a teacher and his duties specifically
       included teaching and coaching Dawson’s students.

171.   James’s actions were only made possible because he was acting as a teacher
       and vocal coach to Mary.

172.   James’s actions were taken during the performance of his duties as an
       employee of Dawson, and within the scope of performing those duties.

173.   James exploited this special position to take advantage of Mary and to
       sexually harass and assault her by not only physically assaulting her by
       pushing his penis against her body, slapping her face, kissing her, touching
       her breast area, buttocks, and thighs but also by repeatedly making sexually
       inappropriate comments to her.

174.   This conduct—that is, a teacher sexually assaulting and harassing his
       student and abusing his position of trust—is so outrageous that a reasonable
       member of the community would regard the conduct as atrocious, going
       beyond all possible bounds of decency, and utterly intolerable in a civilized
       community.

175.   Additionally, Dawson occupied a special position in relation to Mary in that it
       was her school and stood in loco parentis to Mary.

176.   However, Dawson hired James despite James previously leaving Cate based
       on accusations of sexual misconduct.

177.   Dawson also continued to allow James to be in a position that enabled his
       assault of Mary, despite learning no later than August of 2020 that James
       had been accused of sexual misconduct at Cate and willfully ignoring the
       same.




                                          21
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178.   Dawson continued to allow James to be in a position that enabled his assault
       of Mary, despite learning of concerns expressed by its faculty related to
       James’s grooming behavior and willfully ignoring the same.

179.   Dawson further allowed James back on to campus during school hours after
       he had been allowed to resign, despite Dawson’s promise that he would not be
       on campus and despite James previously sexually assaulting its students.

180.   And furthermore, Dawson, standing in a special relationship with Mary,
       failed to take any action to support or assist her in recovering from the
       assaults perpetrated by James.

181.   Instead, Dawson minimized James’s assaults and marginalized James’s
       victims.

182.   Indeed, Dawson’s actions resulted in the community not knowing anything
       about James’s actions and therefore continuing to allow James around
       children.

183.   This conduct—that is, a school hiring a sexual predator despite being made
       aware of past allegations of sexual misconduct and ongoing grooming
       behavior, allowing that teacher back on campus to terrorize its students after
       promising the victims it would not, and supporting the accused teacher while
       marginalizing his victims—is so outrageous that a reasonable member of the
       community would regard the conduct as atrocious, going beyond all possible
       bounds of decency, and utterly intolerable in a civilized community

184.   James’s actions were taken with a reckless disregard as to the consequences
       his actions would have on Mary. Indeed, his acts were intentional.

185.   Dawson’s actions were taken with a reckless disregard as to the consequences
       its actions would have on Mary. Indeed, its acts were intentional.

186.   James’s and Dawson’s actions and conduct caused severe emotional distress
       to Mary, which manifested as, among other things, nightmares, insomnia,
       stress, trauma, general decline in health and well-being, depression, anxiety,
       shame, grief, humiliation, embarrassment, anger, and panic attacks.

187.   As a direct and proximate cause of James’s and Dawson’s extreme and
       outrageous conduct, Mary has suffered past and future non-economic
       damages including, but not limited to, physical and mental pain and




                                          22
                                                            EXHIBIT 1, Page 22 of 30
       suffering, inconvenience, emotional stress, fear, anxiety, embarrassment,
       humiliation, and impairment in the quality of life.

188.   As a direct and proximate cause of James’s and Dawson’s extreme and
       outrageous conduct, the Does have suffered past and future economic losses
       including, but not limited to, therapy costs, security costs, loss of income, loss
       of ability to earn income in the future, and medical expenses.

                       FIFTH CLAIM FOR RELIEF
               Negligent Infliction of Emotional Distress
 Against James and Dawson (Respondeat Superior) and Against Dawson
                                Directly

189.   The Does incorporate all of the above allegations as though set forth herein in
       their entirety.

190.   After learning that James sexually assaulted Mary Doe, Dawson promised
       the Does that James would not be allowed back on campus.

191.   James acted negligently when he returned to campus while his victims were
       present on campus.

192.   Dawson acted negligently when it allowed James back on to campus while
       Mary was present despite its earlier promise.

193.   Dawson’s and James’s negligence, given James’s violent behavior, volatility,
       and previous assaults of Mary, created an unreasonable risk of physical harm
       to Mary.

194.   Dawson’s and James’s negligence caused Mary Doe to be placed in fear for
       her own safety.

195.   Indeed, Mary—knowing how aggressive James was and terrified of his
       retaliation—believed she was going to be killed.

196.   Mary was therefore in the zone of danger created by Dawson’s and James’s
       negligent conduct.

197.   Mary has suffered long continued emotional disturbance and distress.

198.   To be sure, she struggled for much of the rest of her academic year and
       continues to have anxiety and fear that James will seek her out.


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                                                               EXHIBIT 1, Page 23 of 30
199.   As a direct and proximate result of Dawson’s and James’s negligence, the
       Does suffered past and future non-economic damages including, but not
       limited to, physical and mental pain and suffering, inconvenience, emotional
       stress, fear, anxiety, embarrassment, humiliation, and impairment in the
       quality of life.

200.   As a direct and proximate result of Dawson’s and James’s negligence, the
       Does have suffered past and future economic losses including, but not limited
       to, loss of income, therapy costs, security costs, loss of ability to earn income
       in the future, and medical expenses.

                            SIXTH CLAIM FOR RELIEF
                  Negligent Hiring and Negligent Supervision
                               Against Dawson

201.   The Does incorporate all of the above allegations as though set forth herein in
       their entirety.

202.   Upon information and belief, James was terminated (or permitted to resign)
       from his prior employment because of allegations of sexual misconduct.

203.   Dawson failed to reasonably investigate the reasons behind James’s
       departure from Cate.

204.   Indeed, upon information and belief, Dawson did not contact Cate regarding
       James’s employment and his reason for leaving Cate.

205.   If Dawson had contacted Cate, it would have been made aware that James
       left Cate based upon allegations of sexual misconduct.

206.   Alternatively, if Dawson did contact Cate, it disregarded information that
       James left Cate as a result of allegations of sexual misconduct.

207.   Nevertheless, Dawson learned of the allegations in August of 2020, before
       James sexually assaulted and harassed Mary and the other students.

208.   Dawson reasonably should have investigated this information by, at a
       minimum, contacting Cate.

209.   Indeed, Dawson’s failure to investigate James directly caused James to be
       able to utilize his position as a teacher to assault and harass Mary.


                                           24
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210.   James’s departure from Cate school based upon allegations of sexual
       misconduct gave (or should have given) Dawson reason to believe that, based
       upon his prior conduct, placing him as a teacher would create an undue risk
       of harm to the students placed in his care.

211.   Despite this, Dawson continued to allow James to act as a teacher and to
       have access to children alone and unsupervised.

212.   Indeed, James’s actions while performing his duties as a teacher at Dawson
       did in fact cause harm to the students Dawson entrusted him with.

213.   As a direct and proximate result of Dawson’s negligence, Mary and her
       parents have suffered past and future non-economic damages including, but
       not limited to, physical and mental pain and suffering, inconvenience,
       emotional stress, fear, anxiety, embarrassment, humiliation, and impairment
       in the quality of life.

214.   As a direct and proximate result of Dawson’s negligence, the Does have
       suffered past and future economic losses including, but not limited to,
       therapy costs, security costs, loss of income, loss of ability to earn income in
       the future, and medical expenses.

                           SEVENTH CLAIM FOR RELIEF
                     Negligent Performance of Undertaking
                                Against Dawson

215.   The Does incorporate all of the above allegations as though set forth herein in
       their entirety.

216.   Mary’s parents entrusted Mary’s health and safety to Dawson.

217.   Mary’s family paid tuition to Dawson for Mary to attend Dawson.

218.   Dawson directly assumed the duty of providing care to and assuring Mary’s
       safety.

219.   In fact, Dawson’s handbook explicitly prohibits almost all the acts that James
       inflicted upon Mary and the other victims.




                                           25
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220.   Dawson’s materials state that “students should be free to learn and socialize
       at Dawson in an environment free from sexual harassment and sexual
       assault.” Dawson therefore undertook to provide that environment.

221.   Dawson’s “community commitments” state that Dawson will “[s]teward a
       physi[c]ally and emotionally safe environment conducive to student growth.”
       Dawson therefore undertook to provide that environment.

222.   Mary’s parents relied on Dawson to provide that environment for Mary. They
       entrusted Dawson with Mary’s health and safety, and specifically to provide
       their minor child with an environment free from sexual harassment and
       sexual assault.

223.   Dawson negligently failed to provide that environment by placing James in a
       position to commit sexual assault and sexual harassment despite the fact
       that he had left Cate because of allegations of sexual misconduct.

224.   Dawson negligently failed to provide that environment by continuing to allow
       James to be in a position of trust over children, despite learning, no later
       than August of 2020, that James had been accused of sexual misconduct at
       Cate and willfully ignoring the same, which increased the risk that that
       environment would not be provided.

225.   What is more, Dawson negligently failed to provide that environment by
       continuing to allow James to be in a position of trust over children, despite
       learning of credible concerns that James’s behavior constituted “grooming”
       behavior and willfully ignoring the same.

226.   As a direct and proximate result of Dawson’s negligence, the Does have
       suffered past and future economic losses including, but not limited to,
       therapy costs, security costs, loss of income, loss of ability to earn income in
       the future, and medical expenses.

227.   As a direct and proximate result of Dawson’s negligence, the Does have
       suffered past and future non-economic damages including, but not limited to,
       physical and mental pain and suffering, inconvenience, emotional stress, fear,
       anxiety, embarrassment, humiliation, and impairment in the quality of life.




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                      EIGHTH CLAIM FOR RELIEF
                     Breach of Fiduciary Duty
 Against James and Dawson (Respondeat Superior) and against Dawson
                             Directly

228.   The Does incorporate all of the above allegations as though set forth herein in
       their entirety.

229.   James was employed by Dawson as a teacher and his duties specifically
       included teaching and coaching Dawson’s students.

230.   James’s actions were only made possible because he was acting as a teacher
       and vocal coach to Mary.

231.   James’s actions were taken during the performance of his duties as an
       employee of Dawson, and within the scope of performing those duties.

232.   James, as Mary’s teacher and individual coach, was in a position of
       superiority and influence and stood in loco parentis to her.

233.   As her teacher, James was bound to act for her benefit above his own in his
       interactions attendant to that relationship and was in a position of trust
       relative to her.

234.   James utilized his position of trust to sexually assault and harass Mary.

235.   For example, he touched Mary’s breast area, and slapped her face, under the
       pretense of coaching her on her singing.

236.   Furthermore, he breached that trust by committing other acts such as kissing
       Mary, touching her buttocks and thighs, and pressing his penis against her.

237.   Dawson was likewise in a position of superiority and influence and stood in
       loco parentis to Mary.

238.   Dawson was bound to act for Mary’s benefit above its own and was in a
       position of trust relative to her.

239.   Dawson failed to act reasonably in executing its fiduciary duty to Mary by
       hiring James despite James previously leaving Cate based on accusations of
       sexual misconduct.




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240.   Dawson failed to act reasonably in executing its fiduciary duty to Mary by
       continuing to allow James to be in a position of trust over Mary, despite
       learning no later than August of 2020 that James had been accused of sexual
       misconduct at Cate and willfully ignoring the same.

241.   Dawson failed to act reasonably in executing its fiduciary duty to Mary by
       continuing to allow James to be in a position of trust over Mary, despite
       learning of concerns expressed by its faculty related to James’s grooming
       behavior and willfully ignoring the same.

242.   Dawson further breached its fiduciary duty by allowing James back on to
       campus during school hours after he had been allowed to resign, despite
       Dawson’s promise that he would not be on campus and despite James
       previously sexually assaulting its students.

243.   And furthermore, Dawson, standing in a special relationship with Mary,
       failed to take any action to support or assist her in recovering from the
       assaults perpetrated by James.

244.   As a direct and proximate result of James’s and Dawson’s breach of their
       fiduciary duties, the Does suffered past and future non-economic damages
       including, but not limited to, physical and mental pain and suffering,
       inconvenience, emotional stress, fear, anxiety, embarrassment, humiliation,
       and impairment in the quality of life.

245.   As a direct and proximate result of James’s and Dawson’s breach of their
       fiduciary duties, the Does have suffered past and future economic losses
       including, but not limited to, therapy costs, security costs, attorney fees,
       costs, loss of income, loss of ability to earn income in the future, and medical
       expenses.

                          NINTH CLAIM FOR RELIEF
                        Breach of Contract Including
         Breach of Implied Covenant of Good Faith and Fair Dealing
                              Against Dawson

246.   The Does incorporate all of the above allegations as though set forth herein in
       their entirety.

247.   Every Colorado contract contains an implied duty of good faith and fair
       dealing. City of Golden v. Parker, 138 P.3d 285, 292 (Colo. 2006).




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248.   The Does entered into a contract with Dawson to enroll Mary Doe as a
       student at the school.

249.   The Does had a justified expectation that Dawson would take all reasonable
       steps to protect Mary as a student in Dawson’s care.

250.   Indeed, Dawson promises as much in its various advertising materials, in its
       handbooks, and on its website.

251.   Due in part to these representations, the Does decided to enroll Mary as a
       student at Dawson.

252.   Dawson breached the contract by hiring James given the facts outlined
       above, failing to protect Mary from James’s actions, actively failing to ensure
       that James was an individual in whose care Mary would be safe, and
       depriving Mary of the full benefits of being a student enrolled at Dawson—
       that is, safely and reasonably obtaining an education.

253.   Dawson breached the implied duty of good faith and fair dealing when it
       acted unreasonably, dishonestly, and outside accepted practices to deprive
       the Does of their reasonable expectations under the contract by failing to
       protect Mary from James’s actions, actively failing to ensure that James was
       an individual in whose care Mary would be safe, and depriving Mary of the
       full benefits of being a student enrolled at Dawson—that is, safely and
       reasonably obtaining an education.

254.   As a direct and proximate result of Dawson’s breach, the Does suffered past
       and future non-economic damages including, but not limited to, physical and
       mental pain and suffering, inconvenience, emotional stress, fear, anxiety,
       embarrassment, humiliation, and impairment in the quality of life.

255.   As a direct and proximate result of Dawson’s breach, the Does have suffered
       past and future economic losses including, but not limited to, the value of the
       contract, loss of income, security costs, therapy costs, loss of ability to earn
       income in the future, and medical expenses.

             PLAINTIFFS DEMAND A JURY FOR ALL CLAIMS SO TRIABLE

       Plaintiffs respectfully request a jury trial on all claims so triable.




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                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully requests this honorable Court enter
judgment in their favor and against Defendants on all claims made herein, for
damages in an amount to be determined at trial, costs and attorney fees, including
fees under Section 13-17-102(4), C.R.S., if any claim or defense put forth by
Defendants is substantially unjustified, along with costs and attorney fees where
permitted, pre- and post-judgment interest, and for such further relief as this Court
deems appropriate and just.

      Plaintiffs also reserve the right to seek exemplary/punitive damages against
Defendants after the exchange of initial disclosures pursuant to C.R.C.P. 26 and in
accordance with Section 13-21-102, C.R.S.

      Respectfully submitted this 30th day of September, 2021.

                                       BURNHAM LAW
                                       By:

                                       /s/ Aaron Belzer
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                                       Counsel for Plaintiffs




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